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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA                   :
                                           :
                                           :
         v.                                :       CRIMINAL NUMBER 21-158
                                           :
                                           :
KYLE FITZSIMONS                            :


                                   NOTICE OF APPEAL


       Notice is hereby given that the above-named Defendant hereby appeals to the United

States Court of Appeals for the District of Columbia from the Order entered on September 24,

2021, denying the Defendant’s Motion to Revoke Detention Order and for Pretrial Release.




                                                   Respectfully submitted,



                                                   /s/ Natasha Taylor-Smith
                                                   NATASHA TAYLOR-SMITH
                                                   Assistant Federal Defender
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                                 CERTIFICATE OF SERVICE


        I, Natasha Taylor-Smith, Assistant Federal Defender, Federal Community Defender

Office for the Eastern District of Pennsylvania, Federal Court Division Defender Association of

Philadelphia, hereby certify that I caused a copy of the Notice of Appeal to be filed and served

electronically through the District of Columbia District Clerk's Office Electronic Case Filing

upon Brandon K. Regan, Assistant United States Attorney, United States Attorney’s Office, 555

4th St., NW, Washington, DC 20530.




                                                     /s/ Natasha Taylor-Smith
                                                     NATASHA TAYLOR-SMITH
                                                     Assistant Federal Defender


DATE:          October 7, 2021
